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   Jennifer Colvin                                                        March 21, 2023
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · ·LA UNION DEL PUEBLO· · · ·§
·4· ·ENTERO, et al.,· · · · · ·§
· · · · · Plaintiffs,· · · · · §
·5· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· Case No. 5:21-cv-844-XR
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·7· ·al.,· · · · · · · · · · · §
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15· · · · ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER COLVIN,
                                                                  16
16· ·produced as a witness at the instance of the Defendants
                                                                  17
17· ·and duly sworn, was taken in the above styled and
18· ·numbered cause on Tuesday, March 21, 2023, from              18
19· ·12:20 p.m. to 3:43 p.m., before DONNA QUALLS, Notary         19
20· ·Public in and for the State of Texas, reported by            20
21· ·computerized stenotype machine, at the offices of Harris     21
22· ·County Attorney's Office, 1019 Congress Street, 15th         22
23· ·Floor, Houston, Texas, pursuant to the Federal Rules of      23
24· ·Civil Procedure, and any provisions stated on the record     24
25· ·or attached hereto.                                          25


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·1· ·the board sends members, we start -- they send in a            ·1· · · · A.· We call on their behalf.
·2· ·couple of members to help our team -- they designate our       ·2· · · · Q.· And according to this report, the signature
·3· ·team to pull the flaps to check for IDs.· Once we start        ·3· ·verification committee convened on October 9th; is that
·4· ·doing that, we process any that don't have IDs -- we           ·4· ·correct?
·5· ·mail back to the voters to get them a chance to cure           ·5· · · · A.· Yes.
·6· ·that ballot.· Any -- all the rest of them are put back         ·6· · · · · · · · ·MS. BINGHAM:· Object to form.· It was the
·7· ·in the tubs, and we hold them until the SVC convenes.          ·7· ·19th.
·8· · · · Q.· Okay.· And so you mentioned that in your county       ·8· · · · · · · · ·THE REPORTER:· Can you speak up?
·9· ·the early voting clerk removes the flap to determine           ·9· · · · · · · · ·MS. BINGHAM:· Tiffany Bingham.
10· ·whether or not the numbers were added; is that correct?        10· · · · A.· It was October 19th.
11· · · · A.· Correct.· Well, us and some of the board              11· · · · Q.· (BY MS. HUNKER)· Okay.· And do they meet each
12· ·members.· It's a group effort depending on the quantity.       12· ·day after that?
13· · · · Q.· And this is to determine whether or not the           13· · · · A.· Depending on volume.· It's not a set schedule.
14· ·voter put down their either their social security or           14· · · · Q.· And you were -- your office was removing the
15· ·Texas ID number?                                               15· ·flap.· Did you notice that less voters as compared to
16· · · · A.· Correct.                                              16· ·the primary and the May elections were not at --
17· · · · Q.· And how do you contact the voter if you               17· ·including their ID number or social security number?
18· ·determine that the voter did not put down an ID number?        18· · · · · · · · ·MS. HOLMES:· Objection to form.
19· · · · A.· There's multiple ways you can contact them.· We       19· · · · · · · · ·MS. BINGHAM:· Objection to form.
20· ·normally give a phone call, and we send a letter.· If          20· · · · · · · · ·MS. HUNKER:· You can answer the question.
21· ·it's before the ballot board meets, the EVBB convenes,         21· · · · A.· There were less voters that left off the ID.
22· ·we mail them the ballot back.                                  22· · · · Q.· (BY MS. HUNKER)· And the signature verification
23· · · · Q.· Okay.· And so are you doing this before this --       23· ·committee, do they also review the ballot to determine
24· ·when I say "doing this," I mean removing the flap before       24· ·whether or not there is a signature match?
25· ·the signature verification committee meets?                    25· · · · A.· They do.

                                                          Page 19                                                            Page 21
·1· · · · A.· Yes.                                                  ·1· · · · Q.· And are they contacted -- the individual voters
·2· · · · Q.· And so you can contact the voter before the           ·2· ·who, let's say, either failed to put their signature or
·3· ·signature verification committee meets; is that correct?       ·3· ·had a mismatch, are they contacted the same way?
·4· · · · A.· Correct.                                              ·4· · · · A.· They are.
·5· · · · Q.· And the signature verification committee, they        ·5· · · · Q.· And then what happens when a -- the signature
·6· ·then -- how do they then handle the ballot?                    ·6· ·verification committee processes the ballot, and then it
·7· · · · A.· The one without the ID or the ones with the ID?       ·7· ·goes to the early voting ballot board?
·8· · · · Q.· The ones -- first without the ID.· We'll start        ·8· · · · A.· The signature verification committee can okay
·9· ·there.                                                         ·9· ·the ballot.· If they have a questionable ballot, that's
10· · · · A.· They designate us to send the ballot back to          10· ·when it -- that goes over to the ballot board.
11· ·the voter on their behalf.                                     11· · · · Q.· So if a ballot is accepted by the signature
12· · · · Q.· Okay.· And the ones with ID?                          12· ·verification committee, it is accepted?
13· · · · A.· The ones with ID, they go through the process         13· · · · A.· Yes.
14· ·to compare the numbers to the -- statements in the             14· · · · Q.· And it only the questionable ballots that move
15· ·system to make sure that the two match, and then they          15· ·to the early voting ballot board; is that correct?
16· ·can okay the ballot.                                           16· · · · A.· Correct.
17· · · · Q.· And do they, too, call the voter?                     17· · · · Q.· Does the early voting ballot board then have
18· · · · A.· Go ahead.                                             18· ·any role with respect to matching ID numbers?
19· · · · Q.· Do they, too, call the voter if they notice           19· · · · A.· They do.
20· ·that they're -- let me strike that.                            20· · · · Q.· What is that role?
21· · · · · · · · ·How does the Signature verification              21· · · · A.· They take -- they assume the same process as
22· ·committee contact the voter?                                   22· ·the SVC.
23· · · · A.· They delegated that to our office.                    23· · · · Q.· And how do you contact the voter once the early
24· · · · Q.· And is that when your office would also call          24· ·voting ballot board meets?
25· ·or --                                                          25· · · · A.· We keep the ballot in our possession and notify




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·1· ·them via phone or mail or e-mail, whatever -- all three        ·1· · · · Q.· (BY MS. HUNKER)· And did you notice again
·2· ·if we can to give them their options to cure.                  ·2· ·comparing the March primary along with the May
·3· · · · Q.· Now, a ballot can be rejected for multiple            ·3· ·elections, as compared to the November 2022 election,
·4· ·types of defects; is that correct?                             ·4· ·that voters were exhibiting less confusion over the ID
·5· · · · A.· Correct.                                              ·5· ·number requirement than they did in those previous
·6· · · · Q.· And so the ID number requirement is only one          ·6· ·elections?
·7· ·way a ballot can be rejected.· Is that fair to say?            ·7· · · · · · · · ·MR. BIRRING:· Objection to form.
·8· · · · A.· Correct.                                              ·8· · · · · · · · ·MS. BINGHAM:· Objection to form.
·9· · · · Q.· And do the other defects -- are they cured            ·9· · · · A.· There was less confusion.
10· ·through a similar process as the ID number?                    10· · · · Q.· (BY MS. HUNKER)· Thank you.· I'm just going to
11· · · · · · · · ·MS. HUNKER:· Objection to form.                  11· ·restate that just to make it clearer.
12· · · · · · · · ·But, yeah, you can answer.                       12· · · · · · · · ·Did you observe less confusion in the
13· · · · A.· Yes.· Well, it's "yes" and "no."· You can't           13· ·November 2022 general election among voters regarding
14· ·cure online for a signature.                                   14· ·the requirement that voters put their ID number on their
15· · · · Q.· (BY MS. HUNKER)· Fair enough.                         15· ·ballot than in the previous elections in 2022,
16· · · · A.· But you can come into the office and cure a           16· ·specifically the primary, primary runoff, and local
17· ·signature.                                                     17· ·election?
18· · · · Q.· So let me rephrase.· A voter who had a defect         18· · · · · · · · ·MS. PAIKOWSKY:· Objection to form.
19· ·that other than an ID number mismatch or failure to put        19· · · · A.· Yes, it -- it was less.· We had less questions
20· ·an ID number on, they also have an opportunity to cure;        20· ·about the ID.
21· ·is that correct?                                               21· · · · Q.· (BY MS. HUNKER)· So I want to turn the page,
22· · · · A.· Correct.                                              22· ·and I'm also simultaneously going to introduce our next
23· · · · Q.· And voters have the option of using the ballot        23· ·exhibit, which I believe is going to be Exhibit 11.
24· ·tracker; is that correct?                                      24· · · · · · · · ·(Exhibit No. 11 was marked.)
25· · · · A.· Yes, that's correct.                                  25· · · · Q.· (BY MS. HUNKER)· Do you have the exhibit in

                                                          Page 23                                                            Page 25
·1· · · · Q.· Now, comparing the March primary and the May          ·1· ·front of you?
·2· ·elections to the November election, were more voters           ·2· · · · A.· I do.
·3· ·able to cure their ballot using the ballot tracker?            ·3· · · · Q.· And do you recognize this document?
·4· · · · A.· I don't have a definite answer for that.              ·4· · · · A.· I do.
·5· · · · Q.· Okay.· Some counties have reported during the         ·5· · · · Q.· And what is this?
·6· ·March primary and May elections, after the primary, that       ·6· · · · A.· It's the reconciliation form from the State.
·7· ·there were problems utilizing the ballot tracker?· Did         ·7· · · · Q.· And what is a reconciliation form?
·8· ·this occur in Harris County?                                   ·8· · · · A.· It reconciles the election.
·9· · · · A.· The State's ballot tracker?                           ·9· · · · Q.· Okay.· And so I just want to make sure I
10· · · · Q.· Yes.                                                  10· ·understand the numbers in both the report and this
11· · · · A.· We did have voters say that they had trouble          11· ·particular reconciliation form.· And so if you look at
12· ·accessing the state tracker.                                   12· ·Box No. 1, it says "Voters."· And then it has five
13· · · · Q.· To your knowledge, were those problems                13· ·categories -- is that correct? -- A through E?
14· ·revolved?· Did voters have a similar complaint for the         14· · · · A.· That's correct.
15· ·November election?                                             15· · · · Q.· And so it says:· "early voting in-person
16· · · · A.· No.                                                   16· ·voters, Election Day in-person voters, mail ballot
17· · · · Q.· And looking at the cure process, did you              17· ·voters, provisional ballot submitted" and then "total
18· ·observe voters being able to -- better able to utilize         18· ·voters"; is that correct?
19· ·the cure process in the November 2022 election than they       19· · · · A.· Yes.
20· ·did in the March primary or May elections?                     20· · · · Q.· And so it says here that there were 64,259 mail
21· · · · · · · · ·MS. PAIKOWSKY:· Objection; form.                 21· ·ballot voters in the November 2022 general election; is
22· · · · · · · · ·THE WITNESS:· Do I still answer?                 22· ·that correct?
23· · · · · · · · ·MS. HUNKER:· You can answer.                     23· · · · A.· Correct.
24· · · · · · · · ·MR. BIRRING:· Yeah, yeah.                        24· · · · Q.· And then if we go to Box No. 2 -- before I go
25· · · · A.· Yes.· The answer is yes.                              25· ·to that -- and this is out of 1,113,016 total voters; is




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·1· ·returned -- those are ballots that were just not               ·1· ·ID number defect by e-mail and have it resolved by
·2· ·returned by the voter, correct?                                ·2· ·e-mail and returned?
·3· · · · A.· Right.· They had no return status in our              ·3· · · · A.· Correct.
·4· ·system.                                                        ·4· · · · Q.· And did you observe that, looking at the
·5· · · · Q.· What about mail ballots surrendered?                  ·5· ·rejected ballot, generally, that some ballots had
·6· · · · A.· Those are voters that surrendered their ballots       ·6· ·multiple defects, not just one?
·7· ·at the poll if they wanted to vote early on Election           ·7· · · · A.· Yes.
·8· ·Day.                                                           ·8· · · · Q.· Now, when you're reporting that defect, do you
·9· · · · Q.· And for a voter who did not include their ID          ·9· ·put only one reason, or do you put the fact that there
10· ·number or had a mismatched ID number, were they then           10· ·were multiple defects?
11· ·able to return their ballot and vote in person if they         11· · · · A.· VOTEC only allows us to put one reason.· The
12· ·had time?                                                      12· ·voter will get a letter for both reasons.
13· · · · A.· Yes.                                                  13· · · · Q.· So there are some voters who may be listed as
14· · · · Q.· And so the mail ballot surrendered, does that         14· ·having one defect but their ballot in fact had
15· ·include those individuals?                                     15· ·multiple -- is that correct? -- in your system?
16· · · · A.· It could possibly.                                    16· · · · · · · · ·MS. HOLMES:· Objection to form.
17· · · · Q.· Okay.· And then mail ballots not countable,           17· · · · · · · · ·MS. HUNKER:· You can answer the question.
18· ·what does that mean?                                           18· · · · A.· Correct.· Well, let me -- let me elaborate.
19· · · · A.· That would mean they either came in after the         19· ·Both of the letters will be in the system.· So if a
20· ·election.· They were late ballots.· They're not                20· ·voter were to call us, we can see both letters that were
21· ·countable ballots.                                             21· ·sent.· So we can tell them, yes, there was more than one
22· · · · Q.· And so the -- with the exception of the mail          22· ·defect.· But as far as reporting to the State, you can
23· ·ballots not countable, the other numbers are all ballots       23· ·only send one code.
24· ·that would have been received before the ballot-received       24· · · · Q.· (BY MS. HUNKER)· And so your reports to the
25· ·deadline the day after the election?                           25· ·State only reflect one defect, not the -- not if there

                                                      Page 31                                                                     Page 33
·1· · · · A.· Yes.                                                  ·1· ·were multiple defects?
·2· · · · Q.· Thank you.· And let's go back to page 16.· And        ·2· · · · A.· Correct.
·3· ·so it says "The EOA processed over 80,000 mail ballot          ·3· · · · Q.· And looking specifically at the UOCAVA voters
·4· ·applications as reflected in the table below."                 ·4· ·who had their ballots rejected, did you look at the
·5· · · · · · · · ·Did I read that correctly?                       ·5· ·reasons why those ballots were rejected?
·6· · · · A.· Yes.                                                  ·6· · · · A.· Not each one individually, no.
·7· · · · Q.· Okay.                                                 ·7· · · · Q.· Were they rejected for a variety of reasons?
·8· · · · A.· EAO.                                                  ·8· · · · A.· Yes.
·9· · · · Q.· EAO.                                                  ·9· · · · Q.· And so I just want to talk a little bit about a
10· · · · A.· Yes.                                                  10· ·little later on page where it says "Mail ballot problems
11· · · · Q.· Thank you.· And so we have domestic versus            11· ·encountered," second paragraph specifically.· It says:
12· ·UOCAVA voters, correct?                                        12· ·"During the mail ballot period, the EAO received reports
13· · · · A.· Yes.                                                  13· ·that voters were not receiving" bal- -- "mail ballots
14· · · · Q.· When a military or overseas voter did not             14· ·and that voters were being charged extra postage because
15· ·include an ID or had -- let's say had a defect in their        15· ·of the size of the carrier envelope."
16· ·ballot, how would you go about contacting that military        16· · · · · · · · ·Did I read that correctly?
17· ·voter?                                                         17· · · · A.· Yes.
18· · · · A.· Via e-mail or phone.                                  18· · · · Q.· And did your office ever determine why certain
19· · · · Q.· And a military voter has the option of                19· ·voters were not receiving their ballots?
20· ·resubmitting their signature sheet; is that correct?           20· · · · A.· No.
21· · · · A.· Correct.                                              21· · · · Q.· And for the voters who were not receiving their
22· · · · Q.· And can they resubmit -- resubmit that                22· ·ballots, the ballot was sent.· It just was not received;
23· ·signature sheet via e-mail?                                    23· ·is that correct?
24· · · · A.· Correct.                                              24· · · · A.· Correct.
25· · · · Q.· And so you can contact a military voter about a       25· · · · Q.· And so there was some issue with the postal




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·1· ·service or the common carrier that was taking the            ·1· · · · Q.· (BY MS. HUNKER)· Sure.
·2· ·ballot; is that fair?                                        ·2· · · · A.· -- asking.
·3· · · · A.· Correct.                                            ·3· · · · Q.· You are an offline county, correct?
·4· · · · · · · · ·MS. BINGHAM:· Objection to form.               ·4· · · · A.· Correct.
·5· · · · Q.· (BY MS. HUNKER)· Did you observe that voters        ·5· · · · Q.· And what is the system that y'all use?
·6· ·were receiving their mail ballots later than they should     ·6· · · · A.· VOTEC.
·7· ·have?                                                        ·7· · · · Q.· Okay.· And so when you receive a application
·8· · · · A.· In some instances.                                  ·8· ·for ballot by mail or a ballot, you mentioned that you
·9· · · · Q.· And was that due to the postal issues?              ·9· ·check to see whether or not the number is in the voter
10· · · · A.· Yes.                                                10· ·record, correct?
11· · · · Q.· Were these delays more than you had seen in         11· · · · A.· Correct.
12· ·previous elections?                                          12· · · · Q.· And so you were looking at VOTEC -- what was it
13· · · · A.· No.                                                 13· ·again?
14· · · · Q.· And it says your office is working with the         14· · · · A.· VOTEC.
15· ·postal service to identify the practices that might have     15· · · · Q.· VOTEC.· You were looking at VOTEC system to
16· ·caused delivery problems; is that right?                     16· ·check the voter record; is that correct?
17· · · · A.· Yes, that's correct.· We work closely with the      17· · · · A.· Correct.
18· ·post office.                                                 18· · · · Q.· When you were making that check like when you
19· · · · Q.· And so I want to look at Topic No. 8.· I'm just     19· ·were looking at the record, were you noticing that fewer
20· ·going to ask a couple of questions related to the            20· ·voters did not have a -- either a driver's license ID
21· ·statistics that we were hoping to -- to gain.· We talked     21· ·number or social security number?
22· ·a little bit about ballots by mail, but I was wondering      22· · · · · · · · ·MS. HOLMES:· Objection --
23· ·about applications that were received.                       23· · · · A.· In the voter management system.
24· · · · · · · · ·So do you know how many applications for       24· · · · Q.· (BY MS. HUNKER)· Yes.
25· ·ballot by mail that were received in your office?            25· · · · · · · · ·MS. HOLMES:· Objection to form.

                                                      Page 35                                                                Page 37
·1· · · · A.· Approximate number?                                 ·1· · · · A.· There were fewer.· There were some that did not
·2· · · · Q.· Approximately.                                      ·2· ·have a number in there, but there were fewer than
·3· · · · A.· 80,000.· That's an approximate number.              ·3· ·previous.
·4· · · · Q.· And do you know approximately how many were         ·4· · · · Q.· (BY MS. HUNKER)· And did you observe when you
·5· ·rejected?                                                    ·5· ·were going through VOTEC that fewer voters -- let
·6· · · · A.· Not off the top of my head.                         ·6· ·take -- let me strike that.
·7· · · · Q.· Okay.· And I talked a little bit about whether      ·7· · · · · · · · ·When you were going through VOTEC, did you
·8· ·or not you had observed there being less voters who were     ·8· ·observe that more voters had both their social security
·9· ·failing to put their ID number on the ballots.· I'm now      ·9· ·number as well as a Texas ID number, whether it be a
10· ·going to ask that same question with respect to              10· ·driver's license or whatnot?
11· ·applications.                                                11· · · · · · · · ·MS. HOLMES:· Objection to form.
12· · · · · · · · ·Did you observe that voters were less          12· · · · · · · · ·(Simultaneously speaking.)
13· ·likely in the general election than in the prior             13· · · · A.· I didn't see if there was fewer or more, but
14· ·elections in 2022 failing to put their ID, whether the       14· ·there were some that had both.
15· ·social security or driver's license?                         15· · · · Q.· (BY MS. HUNKER)· Okay.· And there are multiple
16· · · · A.· It did --                                           16· ·reasons an application for ballot by mail can be
17· · · · · · · · ·MS. HOLMES:· Objection to form.                17· ·rejected, correct?
18· · · · A.· It did decrease.                                    18· · · · A.· Correct.
19· · · · Q.· (BY MS. HUNKER)· And when you were matching the     19· · · · Q.· And so not all applications for ballot by mail
20· ·number with the secretary of state's office, did you         20· ·that were rejected were rejected on account of the
21· ·observe that less voters did not have an ID number in        21· ·requirement that the voter put an ID number; is that
22· ·their voter record?                                          22· ·correct?
23· · · · · · · · ·MS. HOLMES:· Objection to form.                23· · · · A.· Correct.
24· · · · · · · · ·MR. BIRRING:· Objection to form.               24· · · · Q.· Did you have voters who had other types of
25· · · · A.· Can you clarify what you're --                      25· ·defects in their application to vote by mail that were




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·1· ·able to cure their application before -- in time to            ·1· ·May location election; is that correct?
·2· ·get -- to receive a ballot?                                    ·2· · · · A.· I can't agree to that one.· I don't know that
·3· · · · A.· Yes.                                                  ·3· ·percentage rate.
·4· · · · Q.· And did you have voters who had a defect of the       ·4· · · · Q.· Okay.· And would you agree that Harris County
·5· ·lack of numerical identifying information who were able        ·5· ·made significant progress in reducing the mail ballot
·6· ·to cure their application before --                            ·6· ·rejection rate between the primary and the November 2022
·7· · · · A.· Yes.                                                  ·7· ·general election?
·8· · · · Q.· I'm going to introduce Exhibit 12.                    ·8· · · · · · · · ·MS. HOLMES:· Objection; form.
·9· · · · · · · · ·(Exhibit No. 12 was marked.)                     ·9· · · · · · · · ·MS. PAIKOWSKY:· Objection; form.
10· · · · Q.· (BY MS. HUNKER)· Do you have that document in         10· · · · · · · · ·MS. HUNKER:· You can --
11· ·front of you?                                                  11· · · · A.· Yes.
12· · · · A.· I do.                                                 12· · · · Q.· (BY MS. HUNKER)· Was that a "yes"?
13· · · · Q.· Do you see the case that says La Union Del            13· · · · A.· Yes.
14· ·Pueblo Entero v. Greg Abbot?                                   14· · · · Q.· And how did Harris County work to reduce that
15· · · · A.· Yes.                                                  15· ·number?
16· · · · Q.· And do you see the title where it says                16· · · · A.· We inserted -- when we mailed out application
17· ·"Defendant Harris County Elections Administrator,              17· ·requests that voters called in -- request that
18· ·Clifford Tatum's Responses and Objections to State             18· ·application, we sent out a flyer with it making sure
19· ·Defendants' Second Set of Interrogatories, and Third Set       19· ·they knew they needed to include the new law
20· ·of Requests for Production"?                                   20· ·requirements for the ID.· We also did the same with the
21· · · · A.· Yes.                                                  21· ·ballot.
22· · · · Q.· So we are going to jump to page 3 where it says       22· · · · Q.· And did you notice that if your efforts
23· ·"Responses to Interrogatories."                                23· ·resonated with voters?
24· · · · · · · · ·Do you see that?                                 24· · · · · · · · ·MS. HOLMES:· Objection to form.
25· · · · A.· I do.                                                 25· · · · · · · · ·MS. HUNKER:· Let me rephrase.

                                                          Page 39                                                             Page 41
·1· · · · Q.· And then next to Interrogatory No. 4 it says          ·1· · · · Q.· (BY MS. HUNKER)· Did you observe whether your
·2· ·"Please identify and describe with specificity Harris          ·2· ·efforts at informing voters about the ID requirement
·3· ·County's final rejection rate of timely received ballots       ·3· ·clarified any confusion that the voters may have had
·4· ·by mail, expressed as a percentage of all timely               ·4· ·about the requirement?
·5· ·received ballots by mail and rounded to two decimal            ·5· · · · · · · · ·MS. PAIKOWSKY:· Objection to form.
·6· ·places, for the following elections."                          ·6· · · · A.· I believe it did.
·7· · · · · · · · ·And then -- did I read that correctly?           ·7· · · · Q.· (BY MS. HUNKER)· And you can put this aside.
·8· · · · A.· Yeah.                                                 ·8· ·Going to introduce Exhibit No. 13.
·9· · · · Q.· And do you see where it has F, November 2022          ·9· · · · · · · · ·(Exhibit No. 13 was marked.)
10· ·general election?                                              10· · · · Q.· (BY MS. HUNKER)· Do you have the exhibit in
11· · · · A.· Yes.                                                  11· ·front of you?
12· · · · Q.· And do you see where it has the response              12· · · · A.· I do.
13· ·4.16 percent?                                                  13· · · · Q.· And do you recognize this exhibit?
14· · · · A.· I do.                                                 14· · · · A.· I do.
15· · · · Q.· And I'm just going to confirm that the mail           15· · · · Q.· And what is it?
16· ·ballot rejection rate for Harris County in the                 16· · · · A.· It's the insert for the ballot.
17· ·November 2022 election was 4.16 percent?                       17· · · · Q.· Okay.· And just for clarification of the
18· · · · A.· Correct.                                              18· ·record, you'll see at the bottom there are Bates numbers
19· · · · Q.· And that is less than the rejection rate from         19· ·that say TATUM_005338.
20· ·the March primary, correct?                                    20· · · · · · · · ·Did I read that correctly?
21· · · · A.· Correct.                                              21· · · · A.· Yes.
22· · · · Q.· And that is less than the rejection rate from         22· · · · Q.· And so this is the insert that you put into
23· ·the primary runoff?                                            23· ·your balloting materials to inform voter of the ID
24· · · · A.· Correct.                                              24· ·requirement; is that correct?
25· · · · Q.· And it is less than the rejection rate from the       25· · · · A.· Correct.




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·1· · · · A.· We added our logo at the top.                           ·1· ·system.
·2· · · · Q.· Were you aware that the State has its own --            ·2· · · · Q.· And after that, you look to see whether the
·3· ·has produced its own ballot insert, carrier envelope             ·3· ·identification numbers match?
·4· ·insert?                                                          ·4· · · · A.· Yes, in the voter file.
·5· · · · A.· No.                                                     ·5· · · · Q.· Has the process by which your office does this
·6· · · · Q.· Were you involved in the decision-making of             ·6· ·intake changed -- has it changed since the March
·7· ·which carrier insert to use?                                     ·7· ·primary?
·8· · · · A.· No.· We use the one that was created by our             ·8· · · · A.· No.
·9· ·office.                                                          ·9· · · · Q.· So along the same lines, can you take me
10· · · · Q.· Understood.· To your knowledge, did the                 10· ·through how your office -- and this is a question again
11· ·secretary of state's office make any suggestions to you          11· ·about the mechanical processing.· I know you talked a
12· ·as to what type of voter education your county should            12· ·little before about how EVBB's SV --
13· ·engage in related to the ID provisions of Senate Bill 1?         13· · · · A.· C.
14· · · · A.· No.                                                     14· · · · Q.· -- Cs process ballots when they come in.· At
15· · · · Q.· So I'm going to zoom back a little bit to the           15· ·what point in the process do either the SVBs [sic] or
16· ·processing of ABBMs and mail ballot forms.· So when your         16· ·the EVBBs look up a voter in the system?
17· ·office receives an ABBM, what are the first steps that           17· · · · A.· When they start verifying signatures, they'll
18· ·you take?                                                        18· ·go into the ballot board module, and they can see the
19· · · · A.· When we first get it in the mail?                       19· ·voter's profile -- well, on the system itself, it shows
20· · · · Q.· (Nonverbal response.)                                   20· ·the voters -- each.· It's a list of 25 -- well, now
21· · · · A.· We -- if it comes in an envelope, we open the           21· ·we're up to 100 voters per batch.· But it will list
22· ·envelope, barcode it, and image it.                              22· ·their ID and -- any ID that's linked to them in the
23· · · · Q.· And what do you do to determine whether or not          23· ·system will be on their profile.
24· ·to accept the ABBM?                                              24· · · · Q.· So taking a step back, how do you match a
25· · · · A.· I missed a step.· When we get them in, we sort          25· ·ballot to a voter in the system?

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·1· ·them by the type of app because we have different                ·1· · · · A.· We image it.· And it's linked through a
·2· ·campaign apps that come in and the reason that they've           ·2· ·barcode.
·3· ·voting by mail so they can all be together.                      ·3· · · · Q.· Through a barcode.· So the barcode identifies
·4· · · · Q.· And what do you do next?                                ·4· ·which voter the ballot belongs to and pulls up that
·5· · · · A.· We get them in.· We barcode them.· We sort              ·5· ·voter's --
·6· ·them.· Then we image them.· And we put them in batches           ·6· · · · A.· The carrier envelope to be clear.· Not the
·7· ·of 25 for the processors to process.                             ·7· ·actual ballot.
·8· · · · Q.· And so what happens after that?                         ·8· · · · Q.· Correct.
·9· · · · A.· We look them up in the voter management system          ·9· · · · A.· Yeah.
10· ·to see if they qualify.· We compare the IDs.· We make            10· · · · Q.· Okay.· So there's a barcode that corresponds
11· ·sure the person -- if you can with read the signature --         11· ·between the carrier envelope and the voter itself, and
12· ·the signature is the person that actually is on the app.         12· ·that automatically pulls up the voter's file, and that
13· ·And then we enter them to receive a ballot if they're            13· ·allows you to compares the IDs?
14· ·good.                                                            14· · · · A.· Well, that links the image to the voter's file.
15· · · · Q.· And how do you -- so -- so the first step you           15· ·And then when the ballot board goes in to view them,
16· ·mentioned was you look them up in the...                         16· ·that's where they compare the IDs.
17· · · · A.· V-Max.                                                  17· · · · Q.· Does your office use the driver's license and
18· · · · Q.· V-Max.· And what is V-Max?                              18· ·SSN for any purpose beyond determining whether the mail
19· · · · A.· It's the voter management system.                       19· ·ballot can be accepted in light of Senate Bill 1?
20· · · · Q.· The voter management system.· And so how do you         20· · · · A.· No.
21· ·look up the voter in the voter management system?                21· · · · Q.· Does your office use the driver's license or
22· · · · A.· Depending on the app.· Some apps come with a            22· ·social security number for any purpose beyond
23· ·barcode that's directly linked to the voter.· If not, we         23· ·determining whether an absentee ballot by mail request
24· ·look them up first name, last name, date of birth,               24· ·form can be accepted in light of Senate Bill 1?
25· ·whatever information that we need to find them in the            25· · · · A.· As far as ballot by mail, no.




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·1· · · · Q.· So I'm going to ask you some questions about              ·1· · · · A.· Approximately 20.
·2· ·final rejections, and I want to define that for a                  ·2· · · · Q.· And do you know how much hiring these
·3· ·second.· So a final rejection, I'm using to mean a voter           ·3· ·additional employees cost?
·4· ·has either failed to cure a ballot defect or a ballot              ·4· · · · A.· Not off the top of my head, no.
·5· ·defect -- a cure was insufficient for some reason.                 ·5· · · · Q.· Are these staffing needs greater than -- what
·6· · · · · · · · ·Did your county send out notices of final            ·6· ·were required in previous, past elections?
·7· ·rejection in the 2022 general election to people who               ·7· · · · · · · · ·MS. HUNKER:· Objection; form.
·8· ·were unable to cure their ballot defects or whose cure             ·8· · · · A.· Yes.· Depending on the size of the election, of
·9· ·were insufficient?                                                 ·9· ·course.
10· · · · A.· Yes.                                                      10· · · · Q.· (BY MS. PAIKOWSKY)· Did processing ABBMs take
11· · · · Q.· What is the process for providing this final              11· ·longer in the November 2020 general election than it has
12· ·notice?                                                            12· ·in similar past elections because of Senate Bill 1's ID
13· · · · A.· The --                                                    13· ·requirements?
14· · · · · · · · ·MS. HUNKER:· Objection; form.                        14· · · · · · · · ·MS. HUNKER:· Objection; form.
15· · · · A.· The board will give us -- well, we -- the                 15· · · · A.· Yes, to an extent.
16· ·ballots are already in our possession, but the board               16· · · · Q.· (BY MS. PAIKOWSKY)· How did the processing of
17· ·will -- we change the code to a final rejection code,              17· ·ABBMs change -- actually withdrawn.
18· ·and it's generated through VOTEC, our voter management             18· · · · · · · · ·Did processing ABBMs during the
19· ·system.· And we mail the letter to the voter.                      19· ·November 2022 general election change in terms of how
20· · · · Q.· (BY MS. PAIKOWSKY)· So the final notice comes             20· ·long it took in the 2022 general election as -- as
21· ·through a letter only?                                             21· ·opposed to similar past elections?
22· · · · A.· Yes.                                                      22· · · · A.· Can you clarify similar past elections?· Are
23· · · · Q.· And earlier you mentioned -- so a prelim- --              23· ·you referring to March primaries?
24· ·how would you provide notice for a -- withdrawn.                   24· · · · Q.· I'm referring to --
25· · · · · · · · ·How is the process different for providing           25· · · · A.· Or prior to SB1?

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·1· ·a final notice of rejection versus a notice of a ballot            ·1· · · · Q.· Prior to SB1.
·2· ·defect?                                                            ·2· · · · A.· Yes, it took longer.
·3· · · · A.· A ballot defect, we will call the voter or send           ·3· · · · Q.· And why was that?
·4· ·them a letter or e-mail them if there's an e-mail                  ·4· · · · A.· We had to look in a separate part -- their ID
·5· ·provided to tell them the different ways that they have            ·5· ·is not on the front screen of where we enter an app.· We
·6· ·to -- that they can cure.                                          ·6· ·have to actually go into the voter's profile to look at
·7· · · · Q.· So earlier we were talking about staffing                 ·7· ·the additional information.
·8· ·needs.· Did implementing Senate Bill 1's identification            ·8· · · · Q.· As compared to past elections, did implementing
·9· ·requirements change the staffing needs of your office to           ·9· ·Senate Bill 1's ID provisions impact how long it took to
10· ·process and facilitate the mail voting procedures?                 10· ·process carrier envelopes?
11· · · · A.· It did.                                                   11· · · · A.· Yes.
12· · · · Q.· In what way?                                              12· · · · Q.· And in what way?
13· · · · A.· We created -- since the ballot board give --              13· · · · A.· Because we had to tear the flap and -- first we
14· ·they gave us their duties of calling and informing the             14· ·would tear the flap, and then we would have to process
15· ·voters of their mixmatch or missing IDs, we created a              15· ·the ones that didn't have ID with extra -- that caused
16· ·team, an SB1 team, of approximately 12 employees that              16· ·extra work for the office.· Yeah, that's it.
17· ·would do the calling and notifying the voters.· And they           17· · · · Q.· Based on your experience implementing Senate
18· ·would also -- we also had to increase our mail room,               18· ·Bill 1's mail ballot ID provisions, do you believe your
19· ·scan room team to help pull the flaps of all the ballots           19· ·office will continue to need to expend more resources on
20· ·that came back.                                                    20· ·staffing to support mail voting than it has in the past?
21· · · · Q.· And these 12 employees, were they full time?              21· · · · A.· Yes, depending on the size of the election.
22· · · · A.· No.                                                       22· ·For presidential, most definitely.
23· · · · Q.· How many employees, between mail room increases           23· · · · Q.· So I guess comparing like elections to like
24· ·and this SB1 team, would you say you had to add during             24· ·elections.· So --
25· ·the 2022 general election?                                         25· · · · A.· I would say it would remain the same.




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·1· ·to get voters either return their ballots or get them              ·1· ·elderly and said they weren't able to use the system.
·2· ·noticed in a timely way?                                           ·2· ·But we walked them through it, and we were able to help
·3· · · · A.· It wouldn't impact our office mailing them out            ·3· ·them cure.
·4· ·in any way.· We would mail them as soon as we received             ·4· · · · Q.· Based on your experience implementing SB1's
·5· ·them.                                                              ·5· ·mail ballot identification provision, thus far, do you
·6· · · · Q.· But your knowledge would it impact --                     ·6· ·believe the rejection rate will ever be zero?
·7· ·withdrawn.                                                         ·7· · · · A.· No.
·8· · · · · · · · ·Although it did not impact your ability to           ·8· · · · Q.· Why not?
·9· ·send the notice, did it impact voters' ability to                  ·9· · · · A.· Because we're -- a lot of our voters are
10· ·receive the notice for their ballots in any way?                   10· ·elderly and they forget.· They forget they have to
11· · · · A.· Possibly.· I didn't hear of any voters saying             11· ·include their ID.
12· ·they didn't receive notice.                                        12· · · · Q.· Did your office receive any communications from
13· · · · Q.· But there was a delay?                                    13· ·voters who were frustrated by Senate Bill 1's mail
14· · · · · · · · ·MS. HUNKER:· Objection; form.                        14· ·ballot identification provision during the November 2022
15· · · · A.· Possibly.                                                 15· ·general election?
16· · · · Q.· (BY MS. PAIKOWSKY)· Okay.· So I know we                   16· · · · A.· It would be in the call log if we did.
17· ·mentioned -- and I can take us back here.· But there               17· · · · Q.· Are you aware of the statewide rejection rate
18· ·were 30 voters, UOCAVA voters, whose ballots were                  18· ·for a ABBMs during the November 2022 general election?
19· ·rejected.· Do you know if any of those voters had their            19· · · · A.· Statewide, no.
20· ·ballot rejected because of an identification number                20· · · · Q.· Sorry.· So -- and this also might be -- let me
21· ·issue?                                                             21· ·know if this is not sort of within your experience.
22· · · · A.· I believe so.· I don't know the total there.              22· · · · · · · · ·But has your office ever referred a voter
23· · · · Q.· Were there any voters, UOCAVA voters, who had             23· ·whose ABBM or carrier envelope did not match their TEAM
24· ·an ABBM rejected because of an identification issue?               24· ·record to the office of the secretary of state as a
25· · · · A.· I believe so.                                             25· ·potential case of voter fraud?

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·1· · · · Q.· Do you know approximately how many?                       ·1· · · · A.· No.· Wait, can you elaborate?· I'm sorry.
·2· · · · A.· I don't know that number off the top of my                ·2· · · · Q.· So if there is a mis- -- mismatch between a
·3· ·head.                                                              ·3· ·voter's ID on their ABBM or carrier envelope, has that
·4· · · · Q.· Are you aware of any for whom, given the                  ·4· ·ever caused you to reach out to the office of secretary
·5· ·timing, it just wasn't possible for them to cure these             ·5· ·of state to let them know that this might be a potential
·6· ·issues?                                                            ·6· ·case of voter fraud?
·7· · · · · · · · ·MS. HUNKER:· Objection; form.                        ·7· · · · A.· No.
·8· · · · A.· No.                                                       ·8· · · · Q.· Has your office made a similar referral, again,
·9· · · · Q.· (BY MS. PAIKOWSKY)· Earlier we were discussing            ·9· ·because of an ID mismatch as a potential case of voter
10· ·ballots that might be rejected for multiple reasons.· Do           10· ·fraud to the attorney general's office?
11· ·you have a sense for how common that is?                           11· · · · A.· No.
12· · · · A.· It's not very common.                                     12· · · · Q.· Has your office ever made a referral for voter
13· · · · Q.· When you say "not very common," can you give me           13· ·fraud -- potential voter fraud because of an ID mismatch
14· ·an estimate?                                                       14· ·to the county DA's office?
15· · · · A.· Generally, it's rejected for either no                    15· · · · A.· Can we clarify?· We're talking about
16· ·signature or no ID, not normally for both.· They don't             16· ·November 2022?
17· ·usually send a voter ballot back without one or the                17· · · · Q.· Correct.
18· ·other.                                                             18· · · · A.· Okay.· No.
19· · · · Q.· In the November 2022 general election, were               19· · · · Q.· Have you made criminal referrals based on ID
20· ·voters in your county able to use the State's website to           20· ·mismatches as a potential case of voter fraud since SB1
21· ·track and cure their ballots?                                      21· ·was enacted?
22· · · · A.· Yes.                                                      22· · · · A.· No.
23· · · · Q.· To your knowledge, did any voters in the 2022             23· · · · Q.· Why not?
24· ·general election have difficulty using that system?                24· · · · A.· We haven't had a reason to.
25· · · · A.· We had a couple that called that were very                25· · · · Q.· And why not?




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·1· ·the 2024 presidential election will be in comparison to           ·1· · · · A.· Correct.
·2· ·the previous presidential election of 2020; is that               ·2· · · · Q.· And one of the ways that a voter can update
·3· ·correct?                                                          ·3· ·their voter registration file is by submitting a
·4· · · · A.· Correct.                                                 ·4· ·regist- -- a voter registration card; is that correct?
·5· · · · Q.· You had discussed with counsel the length of             ·5· · · · A.· Correct.
·6· ·time it takes to process ballots by mail; is that                 ·6· · · · Q.· And so a military voter can update their voter
·7· ·correct?                                                          ·7· ·registration file to add new numbers, their ID and
·8· · · · A.· Correct.                                                 ·8· ·social security numbers, by submitted there FPCA?
·9· · · · Q.· You were able to meet your deadlines -- your             ·9· · · · A.· Correct.
10· ·canvassing deadlines for the 2022 general election; is            10· · · · Q.· And so they're simultaneously able to apply for
11· ·that correct?                                                     11· ·a ballot by mail and provide the voter registration --
12· · · · A.· Correct.                                                 12· ·sorry -- a number for their voter registration; is that
13· · · · Q.· And you were able to process voter's                     13· ·correct?· Let me rephrase the question.
14· ·application -- sorry -- let me strike that.                       14· · · · A.· Thank you.
15· · · · · · · · ·You were able to process voters' ballots by         15· · · · Q.· And so a military and overseas voter is able to
16· ·mail in a speedily enough fashion to be able to provide           16· ·submit the FPCA and simultaneously apply for a ballot by
17· ·notice to voters who had a defect in order for them to            17· ·mail as well as providing your office with their
18· ·cure?                                                             18· ·ID number whether it be a social security, driver's
19· · · · A.· Yes.                                                     19· ·license, or any of the numbers listed?
20· · · · · · · · ·MS. HOLMES:· Objection to form.                     20· · · · A.· Correct.
21· · · · Q.· (BY MS. HUNKER)· Do you know what roughly the            21· · · · Q.· You had stated much earlier in the depo that
22· ·turnaround was between when a ballot was received before          22· ·you've been working for Harris County since 2008 in the
23· ·when it was sent out if there was a defect?                       23· ·elections department; is that right?
24· · · · A.· Generally within 24 hours.                               24· · · · A.· Correct.
25· · · · Q.· Is that comparable to previous elections?                25· · · · Q.· And have you been present when Texas has made

                                                        Page 95                                                                  Page 97
·1· · · · A.· Yes.· Our goal is to get them out within                 ·1· ·other changes to election law?
·2· ·24 hours to give them as much time as possible to fix             ·2· · · · A.· Yes.
·3· ·the problem.                                                      ·3· · · · Q.· Is there always a learning curve for voters
·4· · · · Q.· Now, federal law requires that military and              ·4· ·when there's a new requirement or change in procedures?
·5· ·overseas ballots be issued 45 days before Election Day;           ·5· · · · · · · · ·MS. HOLMES:· Objection to form.
·6· ·is that right?                                                    ·6· · · · A.· Yes.
·7· · · · A.· Correct.                                                 ·7· · · · Q.· (BY MS. HUNKER)· And did you notice that voters
·8· · · · Q.· And you were able to meet that deadline this             ·8· ·who had their ballot rejected in the primary were able
·9· ·year, correct?                                                    ·9· ·to successfully vote in the general election?
10· · · · A.· Yes.                                                     10· · · · · · · · ·MS. HOLMES:· Objection to form.
11· · · · Q.· When did voter -- when did ballots go out for            11· · · · Q.· (BY MS. HUNKER)· If you're aware.
12· ·other voters in Harris County?                                    12· · · · A.· It's hard to say.· We didn't compare the two.
13· · · · A.· Shortly thereafter, before the 30th day.                 13· · · · Q.· Did you observe that voters who had voted in
14· · · · Q.· And voters would have been able to return their          14· ·the previous election had fewer problems or confusion
15· ·ballots as soon as it was received; is that correct?              15· ·regarding the ID requirement?
16· · · · A.· Correct.                                                 16· · · · · · · · ·MS. HOLMES:· Objection to form.
17· · · · · · · · ·MS. HOLMES:· Object to the form.                    17· · · · A.· Can you re --
18· · · · Q.· (BY MS. HUNKER)· Are you familiar with the               18· · · · Q.· (BY MS. HUNKER)· Sure.
19· ·federal postcard application?                                     19· · · · A.· Reask your question.· I'm sorry.
20· · · · A.· Yes.                                                     20· · · · Q.· Did you observe that voters who had voted in a
21· · · · Q.· And you're also familiar with acronym people             21· ·previous election when SB1 was in effect had less
22· ·refer to it as FPCA?                                              22· ·difficulty or exhibited less confusion with respect to
23· · · · A.· Yes.                                                     23· ·the ID requirement in the 2022 general election?
24· · · · Q.· The FPCA acts as a voter registration and                24· · · · · · · · ·MS. HOLMES:· Objection to form.
25· ·application for ballot by mail; is that correct?                  25· · · · · · · · ·MR. BIRRING:· Objection to form.




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·1· · · · A.· We had less.· There were more rejects due to ID          ·1· ·receiving very minimal applications right now.
·2· ·in previous elections.                                            ·2· · · · Q.· Okay.· To your knowledge, has Harris County
·3· · · · Q.· (BY MS. HUNKER)· Now, you had spoken a little            ·3· ·ever had a rejection rate for ballots by mail that was
·4· ·bit with counsel about the different codes for when a             ·4· ·zero?
·5· ·ballot was rejected for an ID requirement.· Is there a            ·5· · · · A.· No.
·6· ·separate code if there's a rejection due to lack of               ·6· · · · Q.· And so I want to turn to Exhibit 16 which was
·7· ·signature?                                                        ·7· ·provided by your office during this deposition.
·8· · · · A.· Yes.                                                     ·8· · · · A.· 16.
·9· · · · Q.· Do you recommend that voters put down their              ·9· · · · Q.· Yes.· This is the updated...
10· ·phone number or e-mail when they're applying to vote by           10· · · · A.· Oh, my apologies.· It's right in front of me.
11· ·mail?                                                             11· · · · Q.· So looking at -- let me take a step back.
12· · · · A.· Does our office recommend it?                            12· · · · · · · · ·Are you using the same database, offline
13· · · · Q.· Yes.                                                     13· ·database, in 2022, as you were in these previous
14· · · · A.· Yes.· So we can reach out to the voters if               14· ·elections?
15· ·there's a problem with their application.                         15· · · · A.· Yes.
16· · · · Q.· And do you find that most voters follow through          16· · · · Q.· And how did you come to these rejection rates
17· ·on your recommendation?                                           17· ·for previous elections?
18· · · · A.· We get a lot of phone numbers and e-mails.               18· · · · A.· From numbers within the voter management
19· · · · Q.· You also discussed with counsel about that               19· ·system.
20· ·there were occasions where the county voting system had           20· · · · Q.· Were you required to report rejections prior to
21· ·two IDs but the TEAM's database only had one.                     21· ·2022?
22· · · · · · · · ·Do you recall that conversation?                    22· · · · A.· Yes.
23· · · · A.· Yes.                                                     23· · · · Q.· And was that reported to the secretary of
24· · · · Q.· When you notice that the county database has             24· ·state's office?
25· ·two ID numbers but the TEAM's database only has one, do           25· · · · A.· Yes.

                                                             Page 99                                                            Page 101
·1· ·you inform the secretary of state's office to update the          ·1· · · · Q.· And so in previous elections, Texas utilized
·2· ·TEAM's database?                                                  ·2· ·signature verification, correct?
·3· · · · A.· No.                                                      ·3· · · · A.· Yes.
·4· · · · Q.· And do you know if there's -- if there's a               ·4· · · · Q.· And do you know if the signature verification
·5· ·policy or procedure that perhaps your tech division has           ·5· ·committee utilized the same standard election from
·6· ·with respect to updating?                                         ·6· ·election?
·7· · · · A.· I don't know.                                            ·7· · · · · · · · ·MS. HOLMES:· Objection to form.
·8· · · · Q.· Okay.· If the county database only has one               ·8· · · · A.· Yes.
·9· ·number but the TEAM's database has two numbers and the            ·9· · · · Q.· (BY MS. HUNKER)· And did they utilize the same
10· ·number the voter put is the one that was in the TEAM's            10· ·standard election to election?
11· ·database but not the one in the county's database, you            11· · · · · · · · ·MS. HOLMES:· Objection to form.
12· ·would accept that ballot; is that correct?                        12· · · · A.· Repeat that.
13· · · · A.· Correct.                                                 13· · · · Q.· (BY MS. HUNKER)· So my first question was did
14· · · · Q.· There's an option for voters with disabilities           14· ·you know if they did, and then I realized that was maybe
15· ·as well as voters over 65 to submit an application for            15· ·not clear.· And so I just wanted to clarify, did they
16· ·ballot by mail for the entire year, correct?                      16· ·use the same standard for signature verification
17· · · · A.· Correct.· Annual.                                        17· ·election from election?
18· · · · Q.· And you've already started receiving annual              18· · · · A.· Prior to SB1, they didn't have to compare IDs.
19· ·applications for the 2023?                                        19· ·But after SB1, they had to compare IDs.· That's the
20· · · · A.· That's correct.                                          20· ·difference in their processes.
21· · · · Q.· And did you notice fewer rejections for the              21· · · · Q.· So I think I maybe, then, asked a confusing
22· ·applications that were submitted this year due to the ID          22· ·question.· So I'm talking about the signature
23· ·mismatch or lack of ID as compared to previous elections          23· ·verification, not ID --
24· ·in 2022?                                                          24· · · · A.· Only their signature verification?
25· · · · A.· I haven't analyzed that data, but we're                  25· · · · Q.· Only their signature verification.· So there




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·1· ·was a standard on how to apply -- match signatures?           ·1· · · · · · · · · · · · · ERRATA PAGE

·2· · · · · · · · ·Do you know --                                  ·2· ·WITNESS NAME:· JENNIFER COLVIN· · · DATE:· 03/21/2023

·3· · · · A.· Yes.                                                 ·3· ·PAGE· LINE· CHANGE· · · · · · · ·REASON

·4· · · · Q.· -- if your signature verification committee          ·4· ·________________________________________________________

·5· ·utilized identical standard election from election prior      ·5· ·________________________________________________________

·6· ·to 2022?                                                      ·6· ·________________________________________________________

·7· · · · A.· Yes.                                                 ·7· ·________________________________________________________

·8· · · · Q.· And do you know how that standard applies to         ·8· ·________________________________________________________

·9· ·how other counties compare signatures?                        ·9· ·________________________________________________________

10· · · · A.· No.                                                  10· ·________________________________________________________

11· · · · Q.· And we had talked a little bit earlier about         11· ·________________________________________________________

12· ·how 4.16 was a reduction from the primary election,           12· ·________________________________________________________

13· ·correct?                                                      13· ·________________________________________________________

14· · · · A.· Correct.                                             14· ·________________________________________________________

15· · · · Q.· And I believe you said it was also a reduction       15· ·________________________________________________________

16· ·from the primary runoff, correct?                             16· ·________________________________________________________

17· · · · A.· Correct.                                             17· ·________________________________________________________

18· · · · Q.· And do you expect that the rejection rate will       18· ·________________________________________________________

19· ·decline further in future elections?                          19· ·________________________________________________________

20· · · · · · · · ·MS. HOLMES:· Objection to form.                 20· ·________________________________________________________

21· · · · A.· We hope so.                                          21· ·________________________________________________________

22· · · · · · · · ·MS. HUNKER:· I believe that's all the           22· ·________________________________________________________

23· ·questions I have.                                             23· ·________________________________________________________

24· · · · · · · · ·MS. PAIKOWSKY:· Can we go off the record?       24

25· · · · · · · · ·MS. HUNKER:· Yes.                               25· · · · · · ·______________________________________________


                                                        Page 103                                                      Page 105
·1· · · · · · · · ·THE REPORTER:· Are we done, then?               ·1· · · · I, JENNIFER COLVIN, have read the foregoing
                                                                   · · ·transcript and hereby affix my signature that same is
·2· · · · · · · · ·MS. HOLMES:· I might have one more question     ·2· ·true and correct, except as noted above on the previous
·3· ·to ask.· Let me confirm with my counsel.                      · · ·pages(s), and that I am signing this before a Notary
                                                                   ·3· ·Public
·4· · · · · · · · ·THE REPORTER:· You can take us off the
                                                                   ·4
·5· ·record.                                                       · · · · · · · · · · · · · · · · ·JENNIFER COLVIN
·6· · · · · · · · ·THE VIDEOGRAPHER:· We are going off the         ·5
                                                                   ·6· ·THE STATE OF· · · · · ·)
·7· ·record at 3:41 p.m.                                           · · ·COUNTY OF· · · · · · · · · ·)
·8· · · · · · · · ·(Recess from 3:41 p.m. to 3:43 p.m.)            ·7
·9· · · · · · · · ·THE VIDEOGRAPHER:· We are on the record at      ·8
                                                                   · · · · · Before me,· · · · · · · · · · · ·, on this day
10· ·3:43 p.m.                                                     ·9· ·personally appeared, JENNIFER COLVIN, known to me or
11· · · · · · · · ·MS. HOLMES:· No further questions from me.      · · ·proved to me under oath or through
                                                                   10· ·(description of identity card or other document), to be
12· ·Thank you.                                                    · · ·the person whose name is subscribed to the foregoing
13· · · · · · · · ·THE WITNESS:· Thank you.                        11· ·instrument and acknowledged to me that they executed the
14· · · · · · · · ·MS. HUNKER:· I think, then, we can dismiss      · · ·same for the purposes and consideration therein
                                                                   12· ·expressed.
15· ·this witness.                                                 13· · · · Given under my hand and seal of office on this, the
16· · · · · · · · ·THE VIDEOGRAPHER:· All right.· We are going     · · ·_______ day of· · · · · · · · · · · · , 2023.
                                                                   14
17· ·off the record on March 21st, 2023, at 3:43 p.m.              15
18· · · · · · · · ·(Proceedings adjourned at 3:43 p.m.)            16· · · · · · · · · · · · · Notary Public in and for
19                                                                 · · · · · · · · · · · · · · The State of Texas
                                                                   17· · · · · · · · · · · · · Commission Expires: ___________
20                                                                 18
21                                                                 19
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22                                                                 21
23                                                                 22
24                                                                 23
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25                                                                 25
